DistrictJudges
          Case 3:18-cr-00048-VAB
              I SouthernDistrictDocument 74-22
                                 of Florida    Filed States
                                           I United  12/21/18 Page 1Court
                                                            District of 3



DistrictJudges
This list is in Seniority Order

ChiefJudgeK.MichaelMoore

JudgeFederico
            A. Moreno

JudgeUrsula Ungaro

JudgeDonaldM. Middlebrooks

JudgeWilliamP.Dimitrouleas

    JoseE.Martinez
Judge

JudgeCecilia
           M. Altonaga

JudgeMarciaG.Cooke

JudgeKathleen
            M. Williams

JudgeRobertN. Scola,
                  Jr.

JudgeDarrinP.Gayles

JudgeBethBloom

JudgeRobinL. Rosenberg

SeniorJudgeJamesLawrence
                       King

SeniorJudgeJoseA. Gonzalez,Jr.

SeniorJudgeWilliamJ.Zloch
https://www.fl sd.uscourts.
                        gov/district-j
                                    udges                              1212012018
           Case 3:18-cr-00048-VAB
DistrictJudgesI SouthernDistrictDocument   74-22
                                  of Florida     FiledStates
                                             I United 12/21/18 Page 2Court
                                                             District of 3     2
SeniorJudgeDonaldL.Graham

SeniorJudgeDanielT. K.Hurley

SeniorJudgeJoanA. Lenard

SeniorJudgePatricia
                  A. Seitz

SeniorJudgePaulC.Huck

SeniorJudge
          KennethA. Marra

SeniorJudgeJamesl. Cohn




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MagistrateJudges  I SouthernDistrictof FloridaI UnitedStatesDistrictCourt

MagistrateJudges
This list is in Seniority Order

ChiefMagistrate
             JudgeAndreaM. Simonton

JudgeLuranaS.Snow

JudgeBarryS.Seltzer

    JohnJ.O'Sullivan
Judge

JudgePatrickA. White

JudgeEdwinG.Torres

JudgeChrisM. McAliley

    JonathanGoodman
Judge

JudgeDaveLeeBrannon

JudgeAliciaM. Otazo-Reyes

JudgeWilliamMatthewman

JudgePatrickM. Hunt

JudgeAliciaO.Valle

JudgeShaniekM. Maynard

JudgeLaurenFleischer
                  Louis

JudgeBruceE.Reinhart
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https://www.fl sd.uscourts.          udges                           12120120t8
